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United States District Court
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CLEPK. U»S. '"l€llllf}l CUBT
U.S.A. vs. Jonathan Carr Docket NoWM§UIS§llFlFB D

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Loretta Flerning presenting an official report upon the conduct
of defendant who was placed under pretrial release supervision by the Honorable Diane K.Vescovo sitting in the
court at Memphis, TN, on the 4th day of May, 2004 under the following conditions:

1) Report to Pretrial Services as directed

2) Avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness
in the subject investigation or prosecution, including but not limited to old friends or other persons involved with
drugs (rnethamphetamine)

3) Refrain from use or unlawful possession of a narcotic drug or other controlled substances

4) Submit to substance abuse testing as directed by the pretrial services officer or supervising officer

S) Participate in substance abuse treatment, if deemed advisable by the pretrial services officer or supervising officer
6) Released to the custody of the Union MissionfMen’s Shelter with participation in the Iron on Iron Program in
accordance with terms of consent order for furlough dated March 23, 2004. Defendant shall reside at the Union
Mission with no weekend furloughs. The Memphis Union Mission agrees (a) to supervise the defendant in accordance
with the conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or
disappears.

On November 15, 2004, Your Honor executed an Order Granting Motion to Amend Bond Conditions permitting
periodic furloughs for the defendant to visit with his family, with the consent and under the direction of the Pretrial
Services Offtce, while this cause is pending.

RESPE.CTFULLY PRESENTING PET[TION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
(If short insert here: if lengthy write on separate sheet and attach)

SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER THE ISSUANCE OF A WARRANT FOR THE DEFENDANT TO
APPEAR AND TO SHOW CAUSE AS TO WHY I~IIS BOND SHOULD NOT BE REVOKED.

 

ORDER OF COURT I declare under penalty of perjury that the
?"l forego is tr d correct. ,

Considered nd or ered this /6'

day of , 20 53 and ordered

filed and rn e a pa of the records in the above 4 -_

gase_ U.S. Pretrial Services Offrcer

» /
/©t/UMU k %/L'/UU“ Place Memphis,TN

U.S. Distrir:t JudgefMagistrate Date ]uly 12, 2005

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Re: .lonathan Carr
Petition for Action on Conditions of Pretrial Release
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l. Released to the custod of the Union Mission Men’s Shelter

Jonathan Carr was dismissed from the Memphis Union Mission Transitional Prograin on July l l, 2005, for the following
violations: l) leaving the Transitional facility to see relatives without the Program Director’s permission; 2) failing to
call or returning to the Transitional facility by curfew time (l 1:00 p.m.); and 3) confessing that he smoked a cigarette
which is a violation of the facility’s “No Smoking Policy.”

CASE STATUS

 

Jonathan Carr was sentenced April 14, 2005, to 105 months imprisonment 3 years supervised release, total assessment
of $100, and $2,572 in restitution payable to the Drug Enforcement Agency. Mr. Carr’s sentence was deferred until
completion of the rehabilitation program with the Memphis Union Mission/Men’s Shelter. He is ordered to surrender
to FCl Forrest City, Arkansas, on Friday, October 28, 2005.

Defendant Carr has to appear in the Circuit Court of Osceola ,Arkansas, on September 7, 2005, on pending charges of
Manufacture of Methamphetamine; Criminal Attempt to Manufacture Methamphetamine; Possession of Drug
Paraphemalia w/Intent to Manufacture Methamphetamine; Possession of Methamphetamine; and Possession of Drug
Paraphemalia.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 162 in
case 2:04-CR-20183 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

Memphis7 TN 38103

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

Memphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

